     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 1 of 29


 1   ROB BONTA
     Attorney General of California
 2   MARK R. BECKINGTON
     Supervising Deputy Attorney General
 3   R. MATTHEW WISE, State Bar No. 238485
     Deputy Attorney General
 4    1300 I Street, Suite 125
      P.O. Box 944255
 5    Sacramento, CA 94244-2550
      Telephone: (916) 210-6046
 6    Fax: (916) 324-8835
      E-mail: Matthew.Wise@doj.ca.gov
 7   Attorneys for Defendant Attorney General Rob Bonta

 8

 9                          IN THE UNITED STATES DISTRICT COURT

10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12

13
     MARK BAIRD and RICHARD                            Case No. 2:19-cv-00617-KJM-AC
14   GALLARDO,
                                                      MEMORANDUM OF POINTS AND
15                                        Plaintiffs, AUTHORITIES IN SUPPORT OF
                                                      DEFENDANT ATTORNEY GENERAL
16                 v.                                 ROB BONTA’S MOTION FOR
                                                      SUMMARY JUDGMENT
17
     ROB BONTA, in his official capacity as            Date:            December 17, 2021
18   Attorney General of the State of California,      Time:            10:00 a.m.
     and DOES 1-10,                                    Dept:            3
19                                                     Judge:           Hon. Kimberly J. Mueller
                                       Defendants.
20                                                     Trial Date:   None set
                                                       Action Filed: April 9, 2019
21

22

23

24

25

26

27

28

                             Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 2 of 29


 1                                                     TABLE OF CONTENTS
 2                                                                                                                                         Page
 3   Introduction ................................................................................................................................ 1
     Background ................................................................................................................................ 1
 4
            I.        California’s Public Carry Laws ............................................................................ 1
 5          II.       Related Legal Challenges .................................................................................... 3
 6          III.      The Present Lawsuit ............................................................................................ 3
     Legal Standard ............................................................................................................................ 5
 7
     Argument ................................................................................................................................... 5
 8          I.        Second Amendment Claims Are Governed by a Two-Step Inquiry ...................... 5
 9          II.       California’s Open Carry Laws Do Not Burden Conduct Historically
                      Understood to Be Protected by the Second Amendment ....................................... 6
10                    A.         California’s Public Carry Laws Are Consistent with Anglo-
                                 American Legal Tradition ........................................................................ 7
11
                                 1.          Heller does not recognize a general right to public carry ............... 7
12                               2.          Restrictions on open carry date back centuries .............................. 8
13                                           a.         Public carry restrictions in England ................................... 9
                                             b.         Public carry restrictions in the founding era..................... 10
14
                                             c.         Public carry restrictions in the antebellum era ................. 11
15                                           d.         Public carry restrictions in the mid- to late-
                                                        nineteenth century ........................................................... 12
16
                                             e.         California has adopted the tradition of regulating
17                                                      open carry ....................................................................... 14
                                 2.          The challenged laws are constitutional under any level of
18                                           means-ends scrutiny ................................................................... 16
19                                           a.         Intermediate scrutiny applies here ................................... 16
                                             b.         The challenged laws satisfy heightened constitutional
20                                                      scrutiny…………………………………………………...17
21   Conclusion................................................................................................................................ 20

22

23

24

25

26

27

28
                                                                            i
                                          Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 3 of 29


 1                                                 TABLE OF AUTHORITIES
 2                                                                                                                                    Page
 3
     CASES
 4
     Andrews v. State
 5      50 Tenn. 165 (1871)............................................................................................................ 13
 6   Aymette v. State
 7      21 Tenn. 154 (1840)............................................................................................................ 12

 8   Bauer v. Becerra
        858 F.3d 1216 (9th Cir. 2017) ............................................................................................. 17
 9
     Celotex Corp. v. Catrett
10      477 U.S. 317 (1986) .............................................................................................................. 5
11   District of Columbia v. Heller
12      554 U.S. 570 (2008) ..................................................................................................... passim

13   Drake v. Filko
        724 F.3d 426 (3d Cir. 2013) .......................................................................................... 16, 17
14
     English v. State
15      35 Tex. 473 (1871).............................................................................................................. 13
16   Fife v. State
         31 Ark. 455 (1876).............................................................................................................. 13
17

18   Flanagan v. Becerra
        (9th Cir.), No. 18-55717........................................................................................................ 3
19
     Flanagan v. Harris
20      2018 WL 2138462 (C.D. Cal. May 7, 2018) .......................................................................... 3
21   Gould v. Morgan
        907 F.3d 659 (1st Cir. 2018) ......................................................................................... 17, 18
22
     Hill v. State
23
         53 Ga. 472 (1874) ............................................................................................................... 13
24
     Jackson v. City & Cty. of San Francisco
25      746 F.3d 953 (9th Cir. 2014) ........................................................................................... 6, 17

26   Kachalsky v. Cty. of Westchester
        701 F.3d 81 (2nd Cir. 2012) .......................................................................................8, 16, 17
27

28
                                                                        ii
                                        Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 4 of 29


 1                                                 TABLE OF AUTHORITIES
                                                         (continued)
 2                                                                                                                                     Page
 3   Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.
        475 U.S. 574 (1986) .............................................................................................................. 5
 4
     McDonald v. City of Chicago
 5     561 U.S. 742 (2010) .............................................................................................................. 7
 6
     New York State Rifle & Pistol Association, Inc. v. Bruen
 7      (U.S.), No. 20-843 ................................................................................................................ 3

 8   Nichols v. Harris
        17 F. Supp. 3d 989 (C.D. Cal. 2014) ..................................................................................... 3
 9
     Nichols v. Newsom
10      (9th Cir.), No. 14-55873........................................................................................................ 3
11
     Nunn v. State
12      1 Ga. 243 (1846) ................................................................................................................. 12

13   Pena v. Lindley
        898 F.3d 969 (9th Cir. 2018) ......................................................................................... 17, 20
14
     Peruta v. Cty. of San Diego
15      824 F.3d 919 (9th Cir. 2016) ...................................................................................3, 6, 9, 12
16   Silvester v. Harris
17       843 F.3d 816 (9th Cir. 2016) ....................................................................................... 5, 8, 17

18   State v. Buzzard
         4 Ark. 18 (1842) ................................................................................................................. 12
19
     State v. Chandler
20       5 La. Ann. 489 (1850) ......................................................................................................... 12
21   State v. Duke
         42 Tex. 455 (1874).............................................................................................................. 13
22

23   State v. Huntly
         25 N.C. 418 (1843) ............................................................................................................. 10
24
     State v. Smith
25       11 La. Ann. 633 (1856) ....................................................................................................... 12
26   Teixeira v. Cty. of Alameda
         873 F.3d 670 (9th Cir. 2017) ............................................................................................... 15
27

28
                                                                        iii
                                                                         Type Footer Info Here 2 («Matter Primary Court Case #»)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 5 of 29


 1                                                    TABLE OF AUTHORITIES
                                                            (continued)
 2                                                                                                                                            Page
 3   United States v. Chovan
        735 F.3d 1127 (9th Cir. 2013) ............................................................................................. 17
 4
     Walburn v. Territory
 5      59 P. 972 (Okla. Terr. 1899)................................................................................................ 13
 6
     Williams-Yulee v. Florida Bar
 7      135 S. Ct. 1656 (2015) ........................................................................................................ 20

 8   Woollard v. Gallagher
       712 F.3d 865 (4th Cir. 2013) ....................................................................................17, 18, 19
 9
     Wrenn v. District of Columbia
10      864 F.3d 650 (D.C. Cir. 2017)....................................................................................8, 10, 11
11
     Young v. Hawaii
12      992 F.3d 765 (9th Cir. 2021) ....................................................................................... passim

13   STATUTES

14   1813 Kentucky Acts 100
        Chapter 89, § 1.................................................................................................................... 11
15
     1813 Louisiana Acts 172
16      § 1....................................................................................................................................... 12
17
     1821 Tennessee Public Acts 15
18      Chapter 13 .......................................................................................................................... 16

19   1836 Massachusetts Laws Titles 748, 750
        Chapter 134, § 16 ................................................................................................................ 15
20
     1869 New Mexico Laws 312
21      Chapter 32, § 1.................................................................................................................... 13
22   1871 Texas General Laws
23      1322, Article 6512 .............................................................................................................. 15

24   1875 Wyoming Law 352
        Chapter 52, § 1.................................................................................................................... 16
25
     1889 Arizona Laws 16
26      Chapter 13, § 1.................................................................................................................... 13
27   1889 Idaho Laws Title 23
28      § 1....................................................................................................................................... 13

                                                                           iv
                                                                             Type Footer Info Here 2 («Matter Primary Court Case #»)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 6 of 29


 1                                                   TABLE OF AUTHORITIES
                                                           (continued)
 2                                                                                                                                          Page
 3   California Penal Code
         § 17030 ................................................................................................................................ 2
 4       § 25400 ................................................................................................................................ 2
         § 25450 ................................................................................................................................ 2
 5
         § 25605 ................................................................................................................................ 2
 6       § 25620 ................................................................................................................................ 2
         § 25630 ................................................................................................................................ 2
 7       § 25640 ................................................................................................................................ 2
         § 25650 ................................................................................................................................ 2
 8       § 25850 ...................................................................................................................... 1, 4, 15
 9       § 25850(a)............................................................................................................................ 2
         § 25850(b) ........................................................................................................................... 4
10       § 25900 ................................................................................................................................ 2
         § 26030 ................................................................................................................................ 2
11       § 26035 ................................................................................................................................ 2
         § 26045 .......................................................................................................................... 2, 14
12       § 26050 ................................................................................................................................ 2
13       § 26055 ................................................................................................................................ 2
         § 26150 ....................................................................................................................... passim
14       § 26150(a)(2) ................................................................................................................... 2, 4
         § 26155 ....................................................................................................................... passim
15       § 26155(a)(2) ....................................................................................................................... 2
         § 26155(b)(2) ....................................................................................................................... 2
16       § 26160 ................................................................................................................................ 3
17       § 26350 ...................................................................................................................... 1, 4, 15
         § 26350(a)............................................................................................................................ 2
18       § 26350(a)(1) ....................................................................................................................... 4
         § 26350(a)(2) ....................................................................................................................... 4
19       § 26366 ................................................................................................................................ 2
         § 26400 ................................................................................................................................ 2
20

21   Delaware Code, Title 11
        § 1441 ................................................................................................................................. 14
22
     Connecticut General Statute
23      § 29-28(b) ........................................................................................................................... 14

24   Hawaii Revised Statute, Title 10
       § 134-9 ............................................................................................................................... 14
25
     Louisiana Revised Statutes
26
        § 40:1379.3 ......................................................................................................................... 15
27
     Maryland Safety Code
28      § 5-306(a)(6)(ii) .................................................................................................................. 15
                                                                           v
                                                                            Type Footer Info Here 2 («Matter Primary Court Case #»)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 7 of 29


 1                                                   TABLE OF AUTHORITIES
                                                           (continued)
 2                                                                                                                                         Page
 3   Massachusetts General Laws
       Chapter 140, § 131(d) ......................................................................................................... 15
 4
     New Jersey Statute
 5     § 2C:58-4(c)........................................................................................................................ 15
 6
     New York Penal Code
 7     § 400.00(2)(f)...................................................................................................................... 15

 8   Rhode Island Laws
        § 11-47-11(a) ...................................................................................................................... 15
 9
     Texas Government Code
10      § 411.172 ............................................................................................................................ 15
11      § 411.177 ............................................................................................................................ 15

12   CONSTITUTIONAL PROVISIONS

13   First Amendment ........................................................................................................................ 7

14   Second Amendment ........................................................................................................... passim

15   Fourth Amendment ................................................................................................................. 4, 7
16   Fourteenth Amendment ..................................................................................................... passim
17   COURT RULES
18
     Federal Rules of Civil Procedure
19      Rule 56(a) ............................................................................................................................. 5
        Rule 56(c) ............................................................................................................................. 5
20

21   OTHER SOURCES

22   Bishop, Commentaries on the Criminal Law (3d ed. 1865) ....................................................... 11

23   Blocher & Miller, The Positive Second Amendment (2018) ....................................................... 16

24   Charles, The Faces of the Second Amendment Outside the Home, Take Two, 64
        Clev. St. L. Rev. 373 (2016).......................................................................................... 12, 13
25
     Ewing, A Treatise on the Office and Duty of the Justice of the Peace, Sheriff,
26      Coroner, Constable (1805).................................................................................................. 10
27
     Gardiner, The Compleat Constable (1708) ................................................................................ 10
28
                                                                          vi
                                                                           Type Footer Info Here 2 («Matter Primary Court Case #»)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 8 of 29


 1                                                 TABLE OF AUTHORITIES
                                                         (continued)
 2                                                                                                                                    Page
 3   Haywood, A Manual of the Laws of North Carolina (1814) ...................................................... 11
 4   Hildreth, Despotism in America (1854) ..................................................................................... 12
 5   Keble, An Assistance to the Justices of the Peace for the Easier Performance of
        their Duty (1683) ................................................................................................................ 10
 6

 7   Ruben & Cornell, Firearm Regionalism and Public Carry: Placing Southern
        Antebellum Case Law in Context, 125 Yale L.J. Forum 121 (2015) ............................... 11, 12
 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                                       vii
                                                                         Type Footer Info Here 2 («Matter Primary Court Case #»)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 9 of 29


 1                                           INTRODUCTION

 2         California has delegated to county sheriffs and city police chiefs the authority to decide

 3   who may carry firearms in the streets, parks, plazas, or shopping centers of its cities and towns.

 4   Under California Penal Code sections 26150 and 26155, local law enforcement officials in less

 5   populated counties may issue licenses to openly carry firearms. Other statutes, such as California

 6   Penal Code sections 26350 and 25850, protect the safety of the State’s residents by prohibiting

 7   open carry in certain public places. Together, these statutes properly balance the rights of private

 8   individuals and the State’s interest in maintaining order.

 9         The relief that Plaintiffs seek in this lawsuit—to make the open carry of firearms in public

10   available to all law-abiding individuals—would upset this careful balance. Plaintiffs are not

11   asserting a generalized right to carry a firearm in public in some manner for self-defense; indeed,

12   even granting them an unconditional right to carry a concealed firearm in most public places

13   would not, in their view, satisfy the Second Amendment. Instead, they ask this Court to declare

14   for the first time that the Second Amendment guarantees them a right to openly carry firearms in

15   nearly every public place. That sweeping contention cannot be squared with over six centuries of

16   Anglo-American law strictly limiting the open carry of firearms—or, therefore, with District of

17   Columbia v. Heller, 554 U.S. 570 (2008). See Young v. Hawaii, 992 F.3d 765, 813, 820-21, 825-

18   26 (9th Cir. 2021) (en banc), petition for cert. filed, No. 20-1639 (U.S. May 25, 2021).

19         California’s open carry laws are firmly rooted in this historical tradition. And if history

20   alone is not dispositive, then these laws—which are appropriately fashioned to serve the State’s

21   compelling interest in public safety—meet any level of heightened constitutional scrutiny.

22   Because there is no genuine issue of material fact as to whether Plaintiffs’ Second Amendment

23   rights were infringed, this Court should grant Defendant’s motion for summary judgment.

24                                            BACKGROUND

25   I.    CALIFORNIA’S PUBLIC CARRY LAWS

26         California law permits the carrying of firearms in public under certain circumstances,

27   commonly where a self-defense need might arise. A California resident who is over eighteen

28   years old and not otherwise prohibited from possessing firearms may generally keep or carry a
                                                       1
                               Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 10 of 29


 1    loaded handgun not only in the person’s home (as guaranteed by Heller) but also in the person’s

 2    place of business. Cal. Penal Code §§ 25605, 26035. Carrying is also generally permitted at a

 3    temporary residence or campsite. Id. § 26055. A person generally may also carry a loaded

 4    handgun in public areas outside incorporated cities where it would be lawful to discharge the

 5    weapon. See id. §§ 25850(a), 17030. Licensed hunters and fishers may carry handguns while

 6    engaged in those activities. Id. §§ 25640, 26366. Certain types of individuals, such as peace

 7    officers, military personnel, and private security personnel, likewise may carry firearms in public

 8    under various circumstances. See id. §§ 25450, 25620, 25630, 25650, 25900, 26030.

 9          State law generally prohibits the public carrying, whether open or concealed, of a loaded
10    firearm (handgun or long gun) or unloaded handgun in “any public place or on any public street”
11    in incorporated cities. Cal. Penal Code § 25850(a); see id. §§ 25400, 26350(a). A similar
12    restriction applies in public places or on public streets in a “prohibited area” of unincorporated
13    territory—that is, an area where it is unlawful to discharge a weapon. Id. §§ 25850(a), 26350(a);
14    see id. § 17030. State law also generally precludes carrying an unloaded long gun in public
15    places within the State’s incorporated cities. Id. § 26400.
16          There is a focused self-defense exception to all of these restrictions, allowing the carrying
17    of a loaded firearm by any individual who reasonably believes that doing so is necessary to
18    preserve a person or property from an immediate, grave danger, while if possible notifying and
19    awaiting the arrival of law enforcement. Cal. Penal Code § 26045. There is also an exception for
20    a person making or attempting to make a lawful arrest. Id. § 26050. And invocations of these

21    exceptions do not require a license or permit. Id. §§ 26045, 26050.

22          California law also accommodates the need or desire of some individuals to carry a

23    handgun in public in situations not otherwise provided for by law. State law allows any otherwise

24    qualified resident to seek a permit to carry a handgun, even in an urban or residential area, for

25    “[g]ood cause.” Cal. Penal Code §§ 26150(a)(2), 26155(a)(2). Such a permit authorizes the

26    carrying of a handgun in a concealed manner, although in counties with populations of less than

27    200,000 persons, the permit may alternatively allow the carrying of a handgun in an “exposed”

28    (i.e., open) manner. Id. §§ 26150(b)(2), 26155(b)(2). The California Legislature has delegated to
                                                     2
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 11 of 29


 1    local authorities (county sheriffs or city police chiefs) the authority to determine what constitutes

 2    “good cause” for the issuance of such a permit in local areas. See id. §§ 26150, 26155, 26160.

 3    As of January 1, 2021, thirty of California’s fifty-eight counties have populations of less than

 4    200,000, according to estimates by the California Department of Finance. RJN, Ex. 1.

 5    II.    RELATED LEGAL CHALLENGES
 6           California’s public carry laws have been subject to several Second Amendment challenges:

 7           In Peruta v. County of San Diego, the plaintiffs’ challenge to California’s regulation of the

 8           concealed carry of firearms in public places was rejected by a Ninth Circuit en banc panel,

 9           which held that the Second Amendment “does not protect in any degree the right to carry
10           concealed firearms in public.” 824 F.3d 919, 939 (9th Cir. 2016) (en banc).
11           In Nichols v. Harris, the district court rejected the same claim advanced here—that the
12           Second Amendment guarantees a right to openly carry a firearm in public places. 17 F.
13           Supp. 3d 989, 993-94, 1004-05 (C.D. Cal. 2014). The Ninth Circuit has stayed the appeal
14           pending a decision by the Supreme Court on the petition for a writ of certiorari in Young v.
15           Hawaii. Nichols v. Newsom (9th Cir.), No. 14-55873, ECF No. 124.
16           In Flanagan v. Harris, the district court rejected the plaintiffs’ argument that the Second
17           Amendment guarantees them some ability to carry a firearm—either concealed or openly—
18           in most public places. 2018 WL 2138462, at *10 (C.D. Cal. May 7, 2018). The Ninth
19           Circuit has stayed the appeal pending resolution of Young or further order of the Court.
20           Flanagan v. Becerra (9th Cir.), No. 18-55717, ECF No. 57.

21           In addition, the Supreme Court recently heard argument in New York State Rifle & Pistol

22    Association, Inc. v. Bruen (U.S.), No. 20-843, which addresses whether the State of New York’s

23    denial of petitioners’ applications for concealed-carry licenses for self-defense violated the

24    Second Amendment.

25    III.   THE PRESENT LAWSUIT
26           On April 9, 2019, Plaintiffs Mark Baird and Richard Gallardo filed a complaint for

27    declaratory and injunctive relief against former Attorney General Xavier Becerra alleging that

28    California’s statutory firearms licensing scheme violates Plaintiffs’ constitutional rights under the
                                                       3
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 12 of 29


 1    Second, Fourth, and Fourteenth Amendments to the Constitution. ECF No. 1. Plaintiffs

 2    challenge four state laws—California Penal Code sections 26150, 26155, 26350, and 25850.

 3    Sections 26150 and 26155 state that, in a county of less than 200,000 persons, the county sheriff

 4    or city police chief within the county “may issue . . . a license to carry loaded and exposed in only

 5    that county a pistol, revolver, or other firearm capable of being concealed upon the person” if

 6    “good cause exists for issuance of the license.” Cal. Penal Code §§ 26150(b)(2) (county sheriff),

 7    26155(b)(2) (city police chief). Section 26350 prohibits a person from “openly carrying an

 8    unloaded handgun” in certain public places either outside or inside a vehicle. Id. § 26350(a)(1),

 9    (a)(2). Section 25850 prohibits a person from “carrying a loaded firearm” outside or inside a
10    vehicle in public places, and, “for the purpose of enforcing this section,” allows peace officers to
11    examine a firearm “to determine whether or not [the] firearm is loaded.” Id. § 25850(a), (b).
12          Shortly after filing their complaint, Plaintiffs brought a motion for preliminary injunction,
13    which this Court denied. ECF No. 33 at 10. While the Court, recognizing the evolving legal
14    landscape, determined that Plaintiffs had “raised ‘serious questions’ going to the merits of their
15    Second Amendment claim,” it declined to issue a preliminary injunction because “the balance of
16    equities [did] not tip ‘sharply’ in [Plaintiffs’] favor.” Id. The Court also largely granted
17    Defendant’s motion to dismiss Plaintiffs’ Fourth and Fourteenth Amendment claims. Id. at 18.
18          Following the Court’s order, Plaintiffs filed an amended complaint bringing only Second
19    Amendment claims. ECF No. 34 (Am. Compl.). Plaintiffs again alleged that when each of them
20    sought an open carry license, their respective local county sheriffs denied their requests, id. at ¶¶

21    39, 80, and suggested that Defendant had effectively instituted an open carry “ban” by not

22    requiring the California Department of Justice to create a distinct open carry license application,

23    id. at ¶¶ 114, 116. Plaintiffs reiterated their intent to carry a firearm, “loaded and exposed,” in

24    their county of residence “and throughout the State of California, with or without a license to

25    carry.” Id. at ¶¶ 53, 92 (similar). Defendant timely answered the amended complaint. ECF No.

26    38. Plaintiffs then filed a second motion for preliminary injunction, raising similar arguments to

27    those made in their first motion. ECF No. 40. The Court has not yet issued a ruling on the

28    second motion.
                                                         4
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 13 of 29


 1                                           LEGAL STANDARD

 2          Summary judgment is proper where no genuine issue of material fact exists and the moving

 3    party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). While the Court must draw

 4    all reasonable inferences in favor of the nonmoving party, Matsushita Elec. Indus. Co., Ltd. v.

 5    Zenith Radio Corp., 475 U.S. 574, 587 (1986), “the plain language of Rule 56(c) mandates the

 6    entry of summary judgment . . . against a party who fails to make a showing sufficient to establish

 7    the existence of an element essential to that party’s case, and on which that party will bear the

 8    burden of proof at trial,” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

 9                                                ARGUMENT
10          California’s open carry laws are constitutionally sound. As underscored by Young, the

11    Second Amendment does not confer, as Plaintiffs assert, a general right to carry a firearm openly

12    in public for self-protection. California’s firearms regulations are consistent with the Second

13    Amendment as it has been historically understood; like Anglo-American firearms regulations

14    dating back centuries, California’s statutes have embraced a tradition of permitting the public

15    carry of firearms in certain circumstances, based on local needs, and with reasonable public safety

16    restrictions. Even if California’s open carry laws were to implicate the Second Amendment, they

17    would readily withstand any level of scrutiny, given the important public safety interests they

18    protect. And expert opinion, social science research, and common sense confirm that there is a

19    reasonable fit between these laws and the fulfillment of those interests.

20    I.    SECOND AMENDMENT CLAIMS ARE GOVERNED BY A TWO-STEP INQUIRY

21          The Ninth Circuit uses a two-step inquiry for Second Amendment claims. The first step

22    considers whether the challenged law burdens conduct protected by the Second Amendment,

23    based on a “historical understanding of the scope of the right.” Silvester v. Harris, 843 F.3d 816,

24    820 (9th Cir. 2016) (quoting Heller, 554 U.S. at 625). If the law falls outside the historical scope

25    of the Second Amendment, then that law “may be upheld without further analysis.” Id. at 821

26    (citation omitted). If, on the other hand, “the regulation is subject to Second Amendment

27    protection . . . the court then proceeds to the second step of the inquiry to determine the

28    appropriate level of scrutiny to apply,” and then to apply that level of scrutiny. Id. (citation
                                                         5
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 14 of 29


 1    omitted). This process requires the court to consider “(1) how close the challenged law comes to

 2    the core of the Second Amendment right, and (2) the severity of the law’s burden on that right.”

 3    Id. (citation omitted). If the law either does not come close to the core or otherwise does not

 4    “substantially” burden the right, then intermediate scrutiny applies. Jackson v. City & Cty. of San

 5    Francisco, 746 F.3d 953, 961 (9th Cir. 2014).

 6    II.   CALIFORNIA’S OPEN CARRY LAWS DO NOT BURDEN CONDUCT HISTORICALLY
            UNDERSTOOD TO BE PROTECTED BY THE SECOND AMENDMENT
 7

 8          In Heller, the Supreme Court confirmed that the Second Amendment recognizes a pre-

 9    existing right to keep and bear arms. 554 U.S. at 592. That understanding led the Court to strike
10    down a statute that “totally ban[ned] handgun possession in the home.” 554 U.S. at 628-29. But
11    the Court did not “purport to ‘clarify the entire field’ of Second Amendment jurisprudence” or
12    “provide explicit guidance on the constitutionality of regulations which are less restrictive than
13    the near-total ban at issue in that case.” Jackson, 746 F.3d at 959 (quoting Heller, 554 U.S. at
14    635); Young, 992 F.3d at 783.
15          This case involves such “less restrictive” regulations. Far from eradicating firearm
16    possession or use, California’s open carry laws restrict most individuals from engaging in specific
17    conduct—openly carrying firearms in public. Plaintiffs argue that these restrictions, which allow
18    sheriffs in some counties the discretion, upon a showing of good cause, to issue an open carry
19    license operable in the county of issuance, unlawfully burden a “core right of the Second
20    Amendment” for a “law-abiding individual to carry a firearm [] outside of the home.” Am.

21    Compl. ¶ 218. Given how Plaintiffs have framed their challenge, this case does not raise the

22    broader question of whether the Second Amendment “protect[s], to some degree, a right of a

23    member of the general public to carry a firearm in public,” either concealed or openly. Peruta,

24    824 F.3d at 927. Even if the Second Amendment guarantees ordinary, law-abiding citizens some

25    right to carry a firearm outside the home, it does not require California to accommodate that right

26    by allowing individuals to carry openly in public, as Plaintiffs suggest. Young, 992 F.3d at 773,

27    813, 821 (“There is no right to carry arms openly in public; nor is any such right within the scope

28    of the Second Amendment.”).
                                                        6
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 15 of 29


 1          A.    California’s Public Carry Laws Are Consistent with Anglo-American
                  Legal Tradition
 2
                  1.    Heller does not recognize a general right to public carry
 3

 4          Heller holds that the Second Amendment protects an individual right to keep and bear

 5    arms. 554 U.S. at 636. “[T]he most natural reading of ‘keep Arms’” is “to ‘have weapons,’” id.

 6    at 582, while “bear arms” is most naturally read to mean “‘wear, bear, or carry upon the person or

 7    in the clothing or in a pocket, for the purpose of being armed and ready for offensive or defensive

 8    action in a case of conflict with another person,’” id. at 584 (ellipses omitted).

 9          While Heller did not “undertake an exhaustive historical analysis . . . of the full scope of the

10    Second Amendment,” 554 U.S. at 626, it did recognize that the right to bear arms must be

11    construed and applied with careful attention to its “historical background.” Id. at 592; see id. at

12    576-626; Young, 992 F.3d at 785. This is critical because “it has always been widely understood

13    that the Second Amendment, like the First and Fourth Amendments, codified a pre-existing

14    right”; indeed, the Second Amendment’s text “declares only that it ‘shall not be infringed.’”

15    Heller, 554 U.S. at 592; Young, 992 F.3d at 786. Nothing about its enumeration in the

16    Constitution changed the right to bear arms into anything more comprehensive or absolute than

17    would have been understood and expected by “ordinary citizens in the founding generation.”

18    Heller, 554 U.S. at 577.

19          Heller also acknowledged that this right was and is “not unlimited.” 554 U.S. at 595, 626.

20    It is not a right “to keep and carry any weapon whatsoever in any manner whatsoever and for

21    whatever purpose,” id. at 626, or “to carry arms for any sort of confrontation,” id. at 595. The

22    core individual right recognized by Heller is the right to keep and bear arms “in defense of hearth

23    and home.” 554 U.S. at 635; see also McDonald v. City of Chicago, 561 U.S. 742, 780 (2010)

24    (plurality op.) (Heller’s “central holding” was that “the Second Amendment protects a personal

25    right to keep and bear arms for lawful purposes, most notably for self-defense within the home.”).

26          That does not mean that the right to “bear” has no scope or application beyond the home.

27    But nothing in Heller suggests that this right applies in exactly the same way in all places, or

28    dictates, as Plaintiffs claim, see, e.g., Am. Compl. ¶¶ 214-217, that the Second Amendment
                                                         7
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 16 of 29


 1    embodies an individual right to carry a gun in almost any public place. Instead, Heller makes

 2    clear that Second Amendment rights are subject to many reasonable regulations. See 554 U.S. at

 3    636. The Court even identified a list of “presumptively lawful regulatory measures,” while

 4    underscoring that the list was “not . . . exhaustive.” Id. at 627 n.26.

 5          Plaintiffs thus overreach when they suggest that Heller stands for the proposition that the

 6    Second Amendment bars reasonable regulations of the right to bear arms because an “individual’s

 7    right to self-defense is as critical and fundamental outside of the home as it is inside of the home.”

 8    Am Compl. ¶ 137. Heller does not recognize an unfettered right to carry firearms in the crowded

 9    public squares of cities and towns, based solely on an individual’s stated desire to be “‘armed and
10    ready for offensive or defensive action in a case of conflict with another person.’” 554 U.S. at
11    584. The challenge here must instead be evaluated, in the first instance, by examining “the
12    historical understanding of the scope of the right.” Id. at 625. Plaintiffs cannot prevail if the laws
13    they challenge fall within the tradition of reasonable public regulation that has long been
14    considered consistent with a private right to bear arms. Cf. id. at 626-27; Young, 992 F.3d at 785-
15    86 (observing that “restrictions on carrying arms openly have long been part of our legal
16    tradition”); Silvester, 843 F.3d at 821 (“Laws restricting conduct that can be traced to the
17    founding era and are historically understood to fall outside of the Second Amendment’s scope
18    may be upheld without further analysis.”).
19                2.    Restrictions on open carry date back centuries
20          The Supreme Court viewed four historical periods as instructive to the analysis in Heller:

21    English history pre-dating the founding, see 554 U.S. at 592-95, and American history at the time

22    of the founding, see id. at 605-10, during the antebellum period, see id. at 610-14, and after the

23    Civil War, see id. at 614-19. Few would dispute that these are “dense historical weeds.” Wrenn

24    v. District of Columbia, 864 F.3d 650, 659 (D.C. Cir. 2017). In some respects, however, the

25    history is not debatable. For more than six centuries, authorities have restricted the carrying of

26    guns by private parties in public places—including, at times, flatly prohibiting it.

27          True, such restrictions were not universal. Kachalsky v. Cty. of Westchester, 701 F.3d 81,

28    91 (2nd Cir. 2012) (“What history demonstrates is that states often disagreed as to the scope of
                                                    8
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 17 of 29


 1    the right to bear arms . . .”). But the persistent regulation of public carry across more than half a

 2    millennium of Anglo-American law cannot be reconciled with Plaintiffs’ expansive claim to a

 3    Second Amendment right to carry their guns in virtually any public place.

 4                      a.     Public carry restrictions in England
 5          As Peruta and Young describe in detail, “the right to bear arms in England has long been

 6    subject to substantial regulation.” Peruta, 824 F.3d at 929; Young, 992 F.3d at 786; see also Wise

 7    Decl., Ex. 1 at 2-8. Starting in the thirteenth century, the Crown repeatedly issued edicts

 8    prohibiting individuals from “going armed” with concealed or open weapons in public places.

 9    Young, 992 F.3d at 786; Peruta, 824 F.3d at 929. Parliament continued that tradition in 1328 by
10    enacting the Statute of Northampton, which provided that “no Man great nor small” was to “go
11    nor ride armed by night nor by day, in Fairs, Markets, nor in the presence of the Justices or other
12    Ministers, nor in no part elsewhere,” on pain of forfeiture of the arms or prison time. Young, 992
13    F.3d at 787 (quoting 2 Edw. 3, 258, ch. 3 (1328)). Northampton became “the foundation for
14    firearms regulation in England for the next several centuries,” and was “widely enforced.”
15    Peruta, 824 F.3d at 930.
16          English authorities extended these restrictions to portable firearms as soon as they emerged
17    on the scene. In 1579, Queen Elizabeth I called for a robust enforcement of Northampton’s
18    prohibition on carrying “Dagge[r]s, Pistol[s], and such like, not only in Cities and Towns, [but] in
19    all parts of the Realm[] in common high[ways],” to combat the “danger” that accompanied the
20    carrying of such “offensive weapons.” By the Queene Elizabeth I: A Proclamation Against the

21    Common Use of Dagges, Handgunnes, Etc., 1-2 (London, Christopher Barker 1579). When

22    Parliament enacted the English Bill of Rights in 1689, it provided that certain subjects “may have

23    arms for their defence suitable to their conditions and as allowed by law.” Young, 992 F.3d at

24    793 (quoting 1 W. & M., ch. 2, § 7 (1689)). As Blackstone later explained, as “allowed by law”

25    embraced restrictions on carrying firearms in public. Id. at 793-94 (quoting 1 Blackstone,

26    Commentaries 139 (1765)); Wise Decl., Ex. 1 at 7-8.

27          Some modern judges have suggested that Northampton barred only the public carry of

28    firearms with the “intent to terrorize the local townsfolk.” Young, 992 F.3d at 842-43
                                                         9
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 18 of 29


 1    (O’Scannlain, J., dissenting). The historical evidence undermines that interpretation. Queen

 2    Elizabeth I explained that it was the very act of carrying “pistols” that caused “‘terrour of all

 3    people professing to travel and live peaceably.’” By the Queene Elizabeth I: A Proclamation

 4    Against the Carriage of Dags, and for Reformation of Some Other Great Disorders 1 (London,

 5    Christopher Barker 1594); Young, 992 F.3d at 793 n.13. A popular seventeenth-century justice of

 6    the peace manual similarly explained that merely carrying such a weapon struck “fear upon

 7    others” who were unarmed, and constituted a punishable affray even “without word or blow

 8    given.” Keble, An Assistance to the Justices of the Peace for the Easier Performance of their

 9    Duty 147 (1683); Young, 992 F.3d at 792-93. That is why constables were instructed to “[a]rrest
10    all such persons as they shall find to carry Dags or Pistols,” without regard to intent or purpose.
11    Keble, at 224; see also Gardiner, The Compleat Constable 18-19 (1708); Wise Decl., Ex. 1 at 11.
12                      b.     Public carry restrictions in the founding era
13          Similar restrictions on carrying weapons were found on the American side of the Atlantic in
14    the period that “preceded and immediately followed adoption of the Second Amendment.”
15    Heller, 554 U.S. at 600-601. Shortly after the founding, for example, North Carolina adopted its
16    own Northampton statute, making it illegal to “go []or ride armed by night []or by day, in fairs,
17    markets . . . [or] part[s] elsewhere,” RJN Ex. 2 at 7-8, and Virginia, Massachusetts, Tennessee,
18    and Maine followed suit. Id. at 4, 10, 12, 15; see also Young, 992 F.3d at 794-96. Several states
19    adopting these restrictions did so in the face of state constitutions that “secured an individual right
20    to bear arms for defensive purposes.” Heller, 554 U.S. at 602.

21          Some modern judges have concluded that founding-era prohibitions on public carry applied

22    only to carrying “‘dangerous and unusual weapons’” in a manner that “‘naturally diffuse[d] a

23    terrour among the people.’” Young, 992 F.3d at 843 (O’Scannlain, J., dissenting); see Wrenn, 864

24    F.3d at 660. But the historical evidence shows that in America, as in England, a gun was

25    considered “an ‘unusual weapon,’” State v. Huntly, 25 N.C. 418, 422 (1843), and arrests for

26    carrying firearms in populated areas were made whether or not the offender “threatened any

27    person in particular” or “committed any particular act of violence,” Ewing, A Treatise on the

28    Office and Duty of the Justice of the Peace, Sheriff, Coroner, Constable 546 (1805). See also
                                                      10
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 19 of 29


 1    Wise Decl., Ex. 1 at 11. Law enforcement manuals from that time accordingly instructed

 2    constables to “arrest all such persons as in your sight shall ride or go armed.” Haywood, A

 3    Manual of the Laws of North Carolina pt. 2, 40 (1814); see also Bishop, Commentaries on the

 4    Criminal Law § 980 (3d ed. 1865) (public carry restrictions did not require that the “peace must

 5    actually be broken, to lay the foundation for a criminal proceeding”).

 6                      c.     Public carry restrictions in the antebellum era
 7          States continued to regulate the carrying of firearms in public places during the period

 8    preceding the adoption of the Fourteenth Amendment. In 1821, Tennessee made it a crime to

 9    carry “pocket pistols” or other weapons. Young, 992 F.3d at 799 (quoting 1821 Tenn. Pub. Acts
10    15, ch. 13). In 1836, Massachusetts amended its law to prohibit going “armed with a dirk,
11    dagger, sword, pistol, or other offensive and dangerous weapon” absent “reasonable cause to fear
12    an [assault] or other injury, or violence to his person, or to his family or property,” on pain of
13    being arrested and required to obtain “sureties for keeping the peace.” Id. (quoting 1836 Mass.
14    Laws 748, 750, ch. 134, § 16). At least seven other states adopted similar “reasonable cause”
15    statutes. RJN, Ex. 2 at 21, 25, 29, 33, 35, 41, 45; Young, 992 F.3d at 799-801.
16          Some judges have discounted the significance of these laws, describing them as akin to
17    “‘minor public-safety infractions’” because they were enforced by requiring offenders to post
18    surety bonds. Young, 992 F.3d at 845 (O’Scannlain, J., dissenting); see also Wrenn, 864 F.3d at
19    661. But sureties were a common way of enforcing criminal prohibitions in “rural society before
20    the age of police forces or an administrative state.” Ruben & Cornell, Firearm Regionalism and

21    Public Carry: Placing Southern Antebellum Case Law in Context, 125 Yale L.J. Forum 121, 131

22    (2015). A person caught carrying a firearm in public could be arrested by the justice of the peace

23    and required to pay sureties—often a hefty sum—in order to be released. Id. at 130. The

24    widespread existence of this sort of regulation does not suggest that there was a common

25    understanding at the time that ordinary citizens under ordinary circumstances had a fundamental

26    right to carry guns in public. Young, 992 F.3d at 820; Wise Decl., Ex. 1 at 18-20.

27          Some mostly southern states took a more permissive approach, prohibiting the carrying of

28    concealed firearms but generally allowing open carry. See, e.g., 1
                                                    11
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 20 of 29


 1          813 Ky. Acts 100, ch. 89, § 1; 1813 La. Acts 172, § 1. That choice reflected local customs

 2    and concerns. In those states, guns were sometimes carried “partly as a protection against the

 3    slaves,” and partly to be used “in quarrels between freemen.” Hildreth, Despotism in America 89-

 4    90 (1854); see also Ruben & Cornell, Firearm Regionalism, 125 Yale L.J. Forum at 123-126

 5    (documenting Southern concerns about slavery and the violent nature of life in the South). And

 6    open carry was seen as the more “noble” and “manly” way of serving those purposes. State v.

 7    Chandler, 5 La. Ann. 489, 490 (1850). But evidently, even in those States, open carry was

 8    uncommon. See, e.g., State v. Smith, 11 La. Ann. 633, 634 (1856) (it was “extremely unusual” to

 9    carry weapons in “full open view”); see also Young, 992 F.3d at 804-05.
10          While some decisions from this era reflect a local preference for more permissive open
11    carry laws, see, e.g., Nunn v. State, 1 Ga. 243 (1846), these authorities do not establish a
12    permissive conception of public carry throughout the region, let alone a national consensus on the
13    meaning of the Second Amendment in this period. They were decided by judges “immersed in a
14    social and legal atmosphere unique to the South,” whose “embrace of slavery and honor[]
15    contributed to an aggressive gun culture.” Ruben & Cornell, Firearm Regionalism, 125 Yale L.J.
16    Forum at 128. In general, southern courts favored “purposive” carry—that one had to have a
17    specific reason to justify being armed in public, Wise Decl., Ex. 1 at 15-17—and some courts
18    even suggested that legislatures could ban public carry consistent with the Second Amendment or
19    a state constitutional equivalent, see State v. Buzzard, 4 Ark. 18, 27 (1842); Aymette v. State, 21
20    Tenn. 154, 161-162 (1840); see generally Young, 992 F.3d at 817 n.39.

21                      d.     Public carry restrictions in the mid- to late-nineteenth century
22          In the years immediately surrounding the adoption of the Fourteenth Amendment, states

23    and local governments adopted still more restrictions on the public carry of firearms, often in

24    response to an increase in lawlessness and violence. Charles, The Faces of the Second

25    Amendment Outside the Home, Take Two, 64 Clev. St. L. Rev. 373, 414 (2016). The post-Civil

26    War constitutions of six States gave their “state legislatures broad power to regulate the manner in

27    which arms could be carried.” Peruta, 824 F.3d at 937. Five others specified that legislatures

28    could prohibit the carrying of concealed weapons. Id. at 936-937. South Carolina, Tennessee,
                                                    12
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 21 of 29


 1    Arkansas, and Oklahoma proceeded to make it illegal to carry weapons in public places. RJN,

 2    Ex. 2 at 48-49, 50, 59, 61. West Virginia and Texas banned public carry without good cause. Id.

 3    at 52, 54. And Wyoming, among other States and territories, made it illegal to carry firearms

 4    “concealed or openly” within the “limits of any city, town, or village.” Id. at 58; see also 1869

 5    N.M. Laws 312, ch. 32, § 1; 1889 Ariz. Laws 16, ch. 13, § 1; 1889 Idaho Laws 23, § 1.

 6          This era saw several constitutional challenges to laws restricting public carry, but none

 7    succeeded. The Tennessee Supreme Court held that the legislature could broadly restrict the

 8    carrying of firearms “among the people in public assemblages where others are to be affected,”

 9    although not “where it was clearly shown they were worn bona fide to ward off or meet imminent
10    and threatened danger to life or limb, or great bodily harm.” Andrews v. State, 50 Tenn. 165, 186,
11    191 (1871). The Texas Supreme Court upheld that State’s prohibition on the carrying of firearms
12    unless the carrier had “‘reasonable grounds for fearing an unlawful attack,’” calling the law “a
13    legitimate and highly proper regulation.” State v. Duke, 42 Tex. 455, 459 (1874). Other courts
14    reached similar results. See English v. State, 35 Tex. 473, 480 (1871); Hill v. State, 53 Ga. 472,
15    474 (1874); Fife v. State, 31 Ark. 455, 461 (1876); Walburn v. Territory, 59 P. 972, 973 (Okla.
16    Terr. 1899) (Mem); see also Wise Decl., Ex. 1 at 20-23.
17          Although Heller found such historical evidence “instructive,” 554 U.S. at 614, Plaintiffs
18    ignore it. Some modern judges have concluded that this era supports a broad right to public carry,
19    reasoning that the Fourteenth Amendment was largely a response to southern “Black Codes,”
20    including laws barring African-Americans from keeping or bearing arms. See Young, 992 F.3d at

21    840 (O’Scannlain, J., dissenting). No doubt, the Amendment’s framers were concerned about

22    discriminatory laws aimed at disarming freed slaves. See id.. But they were surely also aware of

23    the tradition of imposing race-neutral restrictions on carrying firearms in populated areas,

24    including outside the South. The historical record shows that people of all races were prosecuted

25    for violating those laws, see Charles, Take Two, 64 Clev. St. L. Rev. at 430 n.288 (collecting

26    newspaper reports), and nothing in the Fourteenth Amendment disapproved of that tradition.

27

28
                                                        13
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 22 of 29


 1                      e.    California has adopted the tradition of regulating open carry

 2          Reasonable people can debate how exactly the Statute of Northampton was understood in

 3    seventeenth-century England, or where exactly the colonists were allowed to carry firearms in

 4    eighteenth-century America. But no one can seriously dispute that restrictions on the public

 5    carrying of firearms—including regulation of open carry—were commonplace throughout each of

 6    the historical periods that Heller considered in construing the Second Amendment. Those

 7    restrictions were particularly prevalent in populated places, where the routine carrying of firearms

 8    by private parties threatened public safety, and where local sheriffs and justices of the peace were

 9    generally available to provide protection. They were less prevalent in outlying areas, where

10    firearms were more important in part because public officials typically were not available to assist

11    unarmed settlers or travelers. And, at least in America, local governments had substantial

12    discretion to regulate the carrying of guns—or to ban it entirely—based on conditions and public

13    preferences in their jurisdictions. Young, 992 F.3d at 821 (observing that “for centuries we have

14    accepted that, in order to maintain the public peace, the government must have the power to

15    determine whether and how arms may be carried in public places”).

16          California’s system for regulating public carry embraced this tradition. Wise Decl., Ex. 1 at

17    23-27. Californians may carry guns without a license under many circumstances—including at

18    their homes and in their places of business, on much private property with the permission of the

19    owner, in more remote parts of the State, at many campsites, hunting grounds, or target ranges,

20    while traveling to and from those and other authorized locations, and in emergencies when public

21    officials are not on the scene. See ante Background I. On the other hand, California limits the

22    public carrying of guns in cities and towns under ordinary circumstances, with local sheriffs

23    generally determining whether a qualified resident has “good cause” for seeking a license to carry

24    a concealed weapon. Cal. Penal Code §§ 26150, 26155; cf. id. § 26045 (“immediate, grave

25    danger” exception). This is similar to the approach of many other States, which restrict public

26    carry in populated places to those who can make an individualized showing of good cause (or

27    meet a similar standard). See Conn. Gen. Stat. § 29-28(b); Del. Code Ann. tit. 11, § 1441; Haw.

28
                                                        14
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 23 of 29


 1    Rev. Stat. § 134-9; Mass. Gen. Laws ch. 140, § 131(d); Md. Pub. Safety Code § 5-306(a)(6)(ii);

 2    N.J. Stat. § 2C:58-4(c); N.Y. Penal Code § 400.00(2)(f); R.I. Gen. Laws § 11-47-11(a).

 3          Other States take a different approach, generally permitting public carry. See, e.g., La. Rev.

 4    Stat. § 40:1379.3; Tex. Gov’t Code §§ 411.172, 411.177. Whatever the modern policy debate,

 5    the historical record simply does not support Plaintiffs’ suggestion that a permissive approach to

 6    public carry is required by the pre-existing, common-law right to bear arms incorporated into the

 7    Constitution by the Second and Fourteenth Amendments. See Heller, 554 U.S. at 592; Young,

 8    992 F.3d at 825-26. A resident of England before the founding, or of America during the

 9    founding or in the nineteenth century, would have been quite perplexed by Plaintiffs’ contention
10    that the right to bear arms includes a right of ordinary people under ordinary circumstances to
11    carry guns in the public places of cities or towns. Compare, e.g., Am. Compl. ¶¶ 120-127 to 2
12    Edw. 3, 258, ch. 3 (1328); 1836 Mass. Laws 748, 750, ch. 134, § 16; 1871 Tex. Gen. Laws 1322,
13    art. 6512; see also Wise Decl., Ex. 1 at 1-2, 27-28.
14          B.    California’s Open Carry Laws Comport with the Second Amendment
15                1.    The challenged laws are presumptively lawful under Heller
16          Where text, history, and tradition show that a law is consistent with the Second
17    Amendment, the restriction “‘passes constitutional muster’” and this Court’s inquiry “‘is
18    complete.’” Teixeira v. Cty. of Alameda, 873 F.3d 670, 682 (9th Cir. 2017); see Heller, 554 U.S.
19    at 626, 627 n.26; Young, 992 F.3d at 783, 826. History and tradition demonstrate that the laws
20    contested here comport with the “historical understanding” of the right to bear arms. See Heller,

21    554 U.S. at 625; Young, 992 F.3d at 826.

22          Plaintiffs challenge laws that allow local authorities—who are most familiar with the needs

23    and desires of their own communities—the discretion to grant open carry licenses, operable in the

24    county of issuance, to qualified individuals, on a showing of “good cause.” Am. Compl. ¶¶ 236-

25    259 (contesting Cal. Penal Code §§ 26150 and 26155). Plaintiffs also challenge laws that levy

26    criminal penalties on individuals that carry firearms, whether unloaded or loaded, in a public

27    place without a valid license. Id. ¶¶ 260-268 (contesting Cal. Penal Code §§ 26350 and 25850).

28
                                                        15
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 24 of 29


 1          California’s system—including its regulation of open carry—“stands well within our

 2    traditions.” Young, 992 F.3d at 826; Wise Decl., Ex. 1 at 23; see generally Blocher & Miller, The

 3    Positive Second Amendment 16-42 (2018). Indeed, “it does not go as far as some of the historical

 4    bans on public carrying.” Drake v. Filko, 724 F.3d 426, 433 (3d Cir. 2013); see, e.g., 1821 Tenn.

 5    Pub. Acts 15, ch. 13 (categorically banning the carry of “pocket pistols” in all parts of the state);

 6    1875 Wyo. Law 352, ch. 52, § 1 (banning all carry, whether “concealed or openly,” within the

 7    “limits of any city, town, or village”); see also Kachalsky, 701 F.3d at 90 (discussing nineteenth-

 8    century laws that “banned the carrying of pistols and similar weapons in public, both in a

 9    concealed or an open manner”). Given the historical record, California’s system is “within the
10    state’s legitimate police powers and [is] not within the scope of the right protected by [the]
11    Second Amendment.” Young, 992 F.3d at 826.
12                2.    The challenged laws are constitutional under any level of means-ends
                        scrutiny
13
                        a.     Intermediate scrutiny applies here
14

15          Plaintiffs fail not only to address the historical evidence, but also to apply any form of
16    means-ends scrutiny to the laws they challenge. Heller does not suggest that limitations on the
17    right to bear arms should be rejected outright. While Heller does not instruct how heightened
18    scrutiny should apply when reviewing laws under the Second Amendment, 554 U.S. at 628-29 &
19    n.27, the Ninth Circuit and other courts of appeals have developed a two-part inquiry to determine
20    the appropriate level of scrutiny. See ante Argument I. If, under this inquiry, the historical

21    analysis does not demonstrate that a law is presumptively constitutional, then the law is subject to

22    intermediate scrutiny unless it substantially burdens the “core” Second Amendment right. Id.

23          Plaintiffs argue that the Second Amendment, as understood under Heller, stands for the

24    principle that “bearing” arms “encompass[es] the right to carry in public.” Am. Compl. ¶ 126.

25    They misread Heller, which declared that the Second Amendment elevates “above all other

26    interests the right of law-abiding, responsible citizens to use arms in defense of hearth and home,”

27    but recognized that other questions about the scope or application of the right must be “le[ft] to

28    future evaluation.” 554 U.S. at 635. The Ninth Circuit has repeatedly held that, for purposes of
                                                    16
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 25 of 29


 1    determining an appropriate level of scrutiny, the “core” of the Second Amendment right is limited

 2    to what Heller identified: the right to keep and carry “in defense of hearth and home.” Id.; see

 3    Young, 992 F.3d at 782-83; United States v. Chovan, 735 F.3d 1127, 1138 (9th Cir. 2013);

 4    Silvester, 843 F.3d at 821; Bauer v. Becerra, 858 F.3d 1216, 1222 (9th Cir. 2017); Pena v.

 5    Lindley, 898 F.3d 969, 977 (9th Cir. 2018). And every other circuit to consider the proper level

 6    of scrutiny for similar public carry laws has agreed that “intermediate scrutiny is appropriate”

 7    because “the core Second Amendment right is limited to self-defense in the home.” Gould v.

 8    Morgan, 907 F.3d 659, 671, 673 (1st Cir. 2018); see also Kachalsky, 701 F.3d at 94, 96; Drake,

 9    724 F.3d at 436; Woollard v. Gallagher, 712 F.3d 865, 876 (4th Cir. 2013). This case—which
10    addresses open carry outside the home—is no exception. Because the laws challenged here do
11    not burden the core of the Second Amendment right, intermediate scrutiny applies.
12                      b.     The challenged laws satisfy heightened constitutional scrutiny
13          When reviewing a law under intermediate scrutiny, courts ask whether the law promotes a
14    “significant, substantial, or important government objective,” and whether there is a “‘reasonable
15    fit’ between the challenged law and the asserted objective.” Pena, 898 F.3d at 979. While the
16    State must show that the law “promotes a substantial government interest that would be achieved
17    less effectively absent the regulation,” it need not demonstrate that the regulation is the “least
18    restrictive means of achieving the government interest.” Id. (citations and quotation marks
19    omitted). A court’s only obligation is to “‘assure that, in formulating its judgments, [the State]
20    has drawn reasonable inferences based on substantial evidence,’” an inquiry that must accord

21    “‘substantial deference to the predictive judgments’” of the legislature. Id. at 979-980 (quoting

22    Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195 (1997)).

23          Here, it is “‘self-evident’” that California has a compelling interest in protecting public

24    safety and reducing gun violence. Jackson, 746 F.3d at 965 (quoting Chovan, 735 F.3d at 1139).

25    And empirical evidence, in addition to common sense, establishes a “‘reasonable fit’” between

26    that interest and restrictions on open carry. Pena, 898 F.3d at 979.

27          This evidence includes a study conducted by Professor John Donohue and two other

28    scholars comparing the crime rates of the 33 states that have adopted “right-to-carry” laws—
                                                      17
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 26 of 29


 1    under which most residents have the right to carry a firearm in most public places—to those of

 2    states that have not. Wise Decl., Ex. 2. Using 37 years of FBI crime statistics, the study ran four

 3    separate models analyzing the impact of right-to-carry laws on crime rates, finding that right-to-

 4    carry laws “are associated with higher rates of overall violent crime, property crime, or murder.

 5    Id., Ex. 2 at 2. Indeed, under each model, states experienced a 13-15 percent increase in violent

 6    crime in the decade after adopting a right-to-carry law. Id., Ex. 2 at 3.

 7          In a more recent study, Donohue confirmed that “there is consistent evidence that [right-to-

 8    carry] laws elevate violent crime in the decade after adoption,” regardless of the model used, as

 9    long as the model is properly weighted and the data is properly coded. Wise Decl., Ex. 3 at 14-
10    15. Donohue concluded that “[p]olicymakers and citizens should recognize that the best available
11    empirical data to date supports the view that [right-to-carry] laws have resulted in statistically
12    significant increases in violent crime in the ten-year period after adoption.” Id., Ex. 3 at 15.
13          Another peer-reviewed study conducted by Dr. Michael Siegel and other scholars shows a
14    similar link between permissive public carry regimes and higher murder rates. It reviewed data
15    from 1991 through 2005 and found a “significant[] associat[ion]” between right-to-carry states
16    and higher homicide rates. Wise Decl., Ex. 4 at 5. Those states experienced a 6.5 percent
17    increase in the overall homicide rate, an 8.6 percent rise in “firearm-related” homicide rates, and a
18    10.6 percent increase in the “handgun-specific” homicide rate. Id.; see also Gould, 907 F.3d at
19    675 (collecting additional studies).
20          This research supports a legislative judgment that an increase in guns carried by private

21    persons in public places increases the risk that “‘basic confrontations between individuals [will]

22    turn deadly.’” Woollard, 712 F.3d at 879. The Legislature could also conclude that widespread

23    open carry increases the “availability of handguns to criminals via theft,” id., and that such guns

24    would then be used to “commit violent crimes” or be transferred to “others who commit crimes,”

25    RJN, Ex. 3 at 2.

26          Widespread open carry can also endanger police and other law enforcement officials. The

27    former president of the California Police Chiefs Association, Chief Kim Raney, explains in his

28    expert report that “restrictions on the open carry of firearms greatly enhance public safety” and
                                                        18
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 27 of 29


 1    “have been critical to the safety of law enforcement officers, our communities, and those people

 2    who would want to openly carry firearms in public.” Wise Decl., Ex. 5, ¶¶ 21, 22. For example,

 3    when law enforcement is responding to an active shooter, carrying of firearms by other

 4    individuals can have deadly consequences, including by “delaying first responders from [their]

 5    primary mission” of stopping the shooter and saving lives. Id. ¶ 25. In the aftermath of a

 6    shooting that left five police officers dead and nine others wounded, Dallas Police Chief David

 7    Brown complained that officers “‘don’t know who the good guy is versus the bad guy when

 8    everyone starts shooting.’” Id. Similarly, when police officers respond to reports that there is a

 9    “man with a gun,” or encounter an armed civilian on the streets, they often know little about the
10    person’s intent or mental state, or whether the person is authorized to carry a gun. Id. ¶ 22.
11    These encounters can have fatal consequences. Id. Restrictions on public carry also reduce the
12    amount of time that police must spend investigating handgun sightings, and help police quickly
13    identify those persons carrying firearms who pose a threat. Id. ¶ 23; accord Woollard, 712 F.3d
14    at 879-880 (recounting similar policing benefits).
15          Chief Raney’s testimony is consistent with California’s objective, as reflected in the
16    legislative record, in enacting its open carry laws: to prevent or at least reduce the danger to
17    public safety created by firearms in public places. RJN, Ex. 4 at 48. California’s regulation of
18    open carry, which was backed by the California Police Chiefs Association, among others, was
19    animated by the concern that when someone exposes a loaded or unloaded firearm in public,
20    other people often become alarmed and call for peace officers to defuse the situation. Id. at 48-

21    49. Regulating open carry is designed not only to prevent the deadly confrontations that may

22    ensue between the person openly carrying a firearm and the responding peace officer, but to

23    reduce calls to overtaxed police and sheriff’s departments. Id. at 48. At the same time,

24    California’s firearms licensing scheme recognizes the distinct interests of persons living in a rural

25    environment, such as cattle ranchers, and accordingly, allows for the issuance of open carry

26    permits in less populated counties. RJN, Ex. 5 at 3-4, 7. To ensure local control over the

27    permitting process, the authority to issue such licenses is vested with police chiefs and county

28    sheriffs. RJN, Ex. 6 at 2-3.
                                                        19
                                Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 28 of 29


 1          In light of the many public safety risks the Legislature could reasonably deem to be

 2    associated with widespread open carry, there is a “‘reasonable fit’” between California’s

 3    calibrated regime governing open carry and the important interests that it serves. Pena, 898 F.3d

 4    at 979. Indeed, given the compelling public safety interests at stake, and the narrowly tailored

 5    laws allowing sheriffs of less populated counties to issue open carry licenses for good cause, this

 6    regime satisfies not only intermediate scrutiny, but strict scrutiny. See Williams-Yulee v. Florida

 7    Bar, 135 S. Ct. 1656, 1664 (2015) (setting forth strict scrutiny standard). Plaintiffs have not

 8    presented any countervailing evidence that would undermine the conclusion that the laws they

 9    challenge satisfy any level of heightened scrutiny. The reasonable measures at issue here are not
10    among those the Constitution has taken “off the table.” See Heller, 554 U.S. at 636.
11          Plaintiffs complain that the Attorney General and the California Department of Justice have
12    “collectively consented to, and effectuated, a [statewide] ban on the open carriage of handguns”
13    by choosing not to create a separate open carry application for the type of license described in
14    California Penal Code sections 26150 and 26155. Am. Compl. ¶ 115. But sheriffs and police
15    chiefs—not the Attorney General—issue licenses, and Plaintiffs do not suggest that the Attorney
16    General, or anyone else, has interfered with the implementation of these statutes by prohibiting
17    the issuance of open carry licenses. See, e.g., id. at ¶ 35 (“By filling in the ‘type of license’
18    section on the DOJ Application, the Siskiyou County Sheriff’s Office purposely conceals from its
19    residents their right to choose the type of handgun license to apply for, to wit, open carry.”), ¶ 75
20    (“The Shasta County application instructions entitled, ‘Concealed Weapon Permit Application

21    Process’ only pertains to applying for a concealed carry license. Shasta County has no

22    instructions pertaining to applying for an open carry license.”); Def.’s Statement of Undisputed

23    Facts, pp. 2-3. Plaintiffs’ grievances thus appear to stem primarily from how the Siskiyou County

24    and Shasta County sheriffs have chosen to exercise their discretion—and yet, Plaintiffs have not

25    named the sheriffs parties to this action. In any event, the sheriffs have not taken—or failed to

26    take—any action that would render the laws challenged here unconstitutional.

27                                               CONCLUSION
28          This Court should grant Defendant’s motion for summary judgment.
                                                    20
                                 Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
     Case 2:19-cv-00617-KJM-AC Document 56-1 Filed 11/19/21 Page 29 of 29


 1
      Dated: November 19, 2021                           Respectfully submitted,
 2
                                                         ROB BONTA
 3                                                       Attorney General of California
                                                         MARK R. BECKINGTON
 4                                                       Supervising Deputy Attorney General

 5                                                       /s/ R. Matthew Wise

 6                                                       R. MATTHEW WISE
                                                         Deputy Attorney General
 7                                                       Attorneys for Defendant Attorney General
                                                         Rob Bonta
 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23
      SA2019101934
24    35623625.docx

25

26

27

28
                                                    21
                            Mem. of P’s & A’s in Support of Def.’s Mot. for Summ. J. (2:19-cv-00617-KJM-AC)
